        Case 1:11-cv-00374-CRC Document 59-7 Filed 11/12/14 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY AND                             )
ETHICS IN WASHINGTON,                                       )
                                                            )
                      Plaintiff,                            )
                                                            )
               v.                                           )         Civ. No. 11-0374 (CRC)
                                                            )
U.S. DEPARTMENT OF JUSTICE,                                 )
                                                            )
                      Defendant.                            )
                                                            )

                                           ORDER

       UPON CONSIDERATION of plaintiff’s motion for an award of attorneys’ fees and

costs, and the entire record, it is this ____ day of _____________, 2014;

       ORDERED that plaintiff’s motion is granted; and it is

       FURTHER ORDERED that defendant shall pay plaintiff’s attorneys’ fees in the amount

of $36,315 and costs in the amount of $350, for a total of $36,665.




                                             ___________________________________
                                             UNITED STATES DISTRICT JUDGE
